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                              UNITED STATES DISTRICT COURT
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                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                                       EASTERN DIVISION
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12 MOHAMMED ALSAYED                                    No. 5:20-CV-02608-JGB-KKx
   ABDELSALAM,
13                                                     ORDER GRANTING JOINT
           Plaintiff,                                  STIPULATION TO DISMISS ACTION
14
                  v.                                   Honorable Jesus G. Bernal
15                                                     United States District Judge
   WILLIAM P. BARR, et al.,
16
           Defendants.
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            Pursuant to the Joint Stipulation of Dismissal filed by the parties, IT IS HEREBY
20
      ORDERED that the above-captioned action is dismissed without prejudice, with each side
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      to bear its own costs, fees, and expenses.
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25    Dated: October 8, 2021                       ____________________________________
                                                   Jesus G. Bernal
26                                                 United States District Judge
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